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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:            RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Friday, August 11 , 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 2:15 p .m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15       OF THE CASE AS RECORDED    AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       BONNIE GREENBERG, Esquire

19       On behalf of the Defendants:

20       MICHAEL MONTEMARANO , Esquire
         ANTHONY MARTIN, Esquire
21       MARC HALL, Esquire
         TIMOTHY MITCHELL, Esquire
22       PETER WARD, Esquire
         EDWARD SUSSMAN , Esquire
23       HARRY MCKNETT , Esquire

24

25 Tracy Rae Dunlap,   RPR , CRR                       (301) 344-3912
   Official Court Reporter



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 1                             I N D E X

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24 Reporter's Certificate                                   32

25 Concordance                                              33




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 1            MR. SUSSMAN :     Judge , a quick matter .     I spoke

 2 with Ms. Hard en, and       she is stuck on the Belt way .          I

 3 asked her if she had any problem           for waivi ng her

 4 presence     for purpose s of the decision .       She agreed .

 5            THE COURT:      This isn't a decision .      This is a

 6 question .

 7            Do you have copies     of the   question ?

 8            Let me first re view the one for Juror 3, which

 9 says , "I f as a jury we find unanimous          -- a unanimous

10 verdict    for some of the defendant s but not all , do all

11 the defendant s get a new trial or jus t the defendant s

12 we don't reach a verdict         on ?"

13            I will say we would prefer        you reach a unanimous

14 verdict    on all defendant s on all count s, but if you are

15 un able to do so , our rule s provide         you may return    a

16 verdict    at any time as to a defendant         about whom you

17 have agreed , or if there 's multiple          count s on a

18 defendant , you may return        a verdict    on all the count s

19 on which you've agreed,        which is reading     to them Rule

20 31 (b)(12 ).    Any problem    with that ?

21            MS. GREENBERG:      Your Honor , jus t two quick

22 thing s.     If the court could answer        that more

23 sp ecifically    just so they know that that defendant              will

24 not receive     a new trial as to the count s that you've

25 agreed upon .     But if you could also en courage         them to




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 1 consider    all the count s as to all the defendant s --

 2            THE COURT:     I said I would do that .

 3            MS. GREENBERG:    --     and continue   deliberation s.

 4            THE COURT:     I will tell them my strong

 5 preference      is that you reach unanimous        verdict s on all

 6 count s as to all defendant s, but your question was what

 7 happens if we can't, but we're not there yet.               If we do

 8 get to that point,        I want you to know we can receive

 9 verdict s on defendant s on count s on which you can

10 agree , but there will not be a new trial of all

11 defendant s simply       because    you cannot   reach a verdict      on

12 some count s or on some defendant s, just on those as to

13 which there was an in ab ility to agree .           All right ?

14            Now , on the other question , which isn't the

15 clear est --

16            MR. MITCHELL:      May I make a suggestion ?      I know

17 your word ing was that you strong ly prefer            they come up

18 with a unanimous        verdict .    I would suggest    perhaps   that

19 they are strong ly "en courage d."

20            THE COURT:     Okay .    I will say they're

21 en courage d.

22            MR. MITCHELL:      They 're en courage d to reach a

23 unanimous     verdict , not that Your Honor or the court is

24 seek ing --

25            THE COURT:     Okay .




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 1            MR. MCKNETT :      Your Honor ?

 2            MR. MITCHELL:       That 's the only correction           or

 3 suggestion      I have .

 4            THE COURT:       Okay .

 5            MR. MCKNETT:       I would suggest         the court maybe

 6 should   instruct    them that they should             not concern

 7 themselves      with what may happen           after they're

 8 dis charge d.

 9            THE COURT:       They've       asked the question .    I think

10 it 's a straight     answer     to them .

11            MR. MONTEMARANO:          Your Honor , there are some

12 question s that would n't be              answered   if they said , "I f

13 we convict      Ms. Martin on Count One, how much time               would

14 she get ?"      You're     not going to answer         that question.

15            THE COURT:      I'm not going to answer that

16 question.

17            MR. MONTEMARANO:      Exactly.

18            I think Mr. McKnett 's question             is , that 's a

19 question     that run s closer to           one end to the other of

20 the spectrum      as to whether --

21            THE COURT:       They want to know, do all the

22 defendants get a new trial            .    The only thing I'm     going

23 to answer them is,          as to any defendant         or any count on

24 which they are not able to reach an agreement , that

25 would potential ly have to be re tri ed .               But as to those




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 1 on which they do reach agreement , the case is concluded

 2 as to those defendant s or those count s, period .

 3          MR. MCKNETT :      Your Honor , my concern      is that

 4 it 's not necessarily       auto matic that there would be a

 5 re trial on the count s where there is no verdict

 6 return ed on .     I jus t don't think it 's within       their area

 7 of concern     as to what would happen        if they return ed a

 8 non- verdict .

 9          THE COURT:      Well , if there 's a mis trial , the

10 case would be , in the ordinary        course    of thing s, set

11 for a new trial .      The prosecutor     of course     could elect

12 not to proceed , but I don't see how I'm supposed             to go

13 into that kind of a question .

14          MR. MCKNETT :      I don't believe     it should   be of

15 any concern      to them what would happen       to anybody   for

16 whom there might be a mis trial .         It 's just not an issue

17 that they should      address .

18          THE COURT:      Their real question      is , do all the

19 defendant s get a new trial simply           because   they can't

20 reach an agreement      on some defendant s.       I think that

21 ought to be answered , "No."

22          MR. MCKNETT :      That 's fine .

23          THE COURT:      I mean , they may be worried       -- I

24 mean , there may be some of you out there who think ,

25 gee , I have     a chance   of being acquitted     and I'd like to




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 1 be acquitted     but I don't want to have them sudden ly

 2 convict    me for fear that acquit ting me is going            to

 3 result    in everybody     having    a new trial .   They're     try ing

 4 to get an answer        to that question .      I think they're

 5 entitle d to get an answer          to that question .

 6           MR. SUSSMAN:      I was just going the add .         With

 7 regard    to that note , you can tell them that each

 8 defendant     get s separate    consideration     and then , "no ."

 9           MS. GREENBERG:       No objection     to that , Your

10 Honor .

11           MR. SUSSMAN:      Pardon ?

12           MS. GREENBERG:       No objection .

13           THE COURT:      All right .    T he question    from Juror

14 10 .   This isn't the clear est question          in the world ,

15 but let 's take the first sentence .            I think it 's rather

16 clear that they do not need to find the defendant

17 responsible     for all object ives of the conspiracy , and

18 the way the questionnaire           is written , they first have

19 to answer     the question     as to each individual       defendant

20 whether    they were -- the type of substance            involve d and

21 that if they only find it as to one substance               they

22 don't answer     it on the other substance s.         I think

23 that 's the    answer    to that question .

24           MS. GREENBERG:       Judge , I would direct      you to

25 Page 53 of your jury instruction s.




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 1            THE COURT:     Page    53 ?   Wait a min ute .

 2            MS. GREENBERG:        The court said --

 3            THE COURT:     Wait a minute .      Wait a minute .        Let

 4 me get there .      Okay .

 5            MS. GREENBERG:        In the middle    of the full

 6 paragraph     on that page, the court said , "O n the other

 7 hand , the government         need not prove all of the

 8 objectives      of the conspiracy        for you to find the

 9 defendant     guilty    of the conspiracy      count .    It is

10 sufficient      if you " --

11            THE COURT:     I don't think      they're     asking   that

12 question .      They're   asking    a different    question .

13 They're    say ing , hey , if I find them guilty          on Count

14 One , do I have     to give quantiti es on all the different

15 quantiti es ?     The answer     is no , you give it on the

16 quantity     you found they're       involve d with .

17            MR. MARTIN:       That 's not how I read it , Your

18 Honor .

19            MR. MITCHELL:       That 's not how I read it , Your

20 Honor .

21            THE COURT:     I said this was n't the         clear est

22 question     in the world .

23            MR. MARTIN:       The way I read it Your Honor is if

24 someone    is not involve d with all three drug s but we

25 think that the person          may be involve d with just one but




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 1 may have    had knowledge      of somebody    deal ing with the

 2 other , is that enough        to find them guilty      of the

 3 conspiracy .

 4            THE COURT:     That 's correct .

 5            MR. MARTIN:      I think that 's --

 6            THE COURT:     That 's the second      question   they're

 7 asking , and they're        say ing even if that defendant         did

 8 not personally     deal with each of the drug s but had

 9 knowledge , the answer        is , "N o, only those to which you

10 find that the defendant         had knowledge ," is the way I

11 was going to answer it .

12            So if the defendant     had -- take , for example ,

13 somebody    who 's buy ing powder      cocaine    or is involve d in

14 only powder     cocaine .     There 's not been one iota of

15 evidence    linking     that person    direct ly or

16 circumstantial ly to anything          other than powder      cocaine .

17 I think they want to know , are they responsible                 if they

18 didn't   personally      deal with the other drug s.         The

19 answer   would be , they could if they had knowledge , but

20 if they had no knowledge         whatsoever      of any other

21 objective    of the conspiracy        and never touch ed it and

22 never had any knowledge         of it , the answer     is no .

23            MS. GREENBERG:      Judge , I think there are two

24 question s here , and I think it 's -- it would be

25 important    to answer      -- if you're   not going to re- read




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 1 the jury instruction , the first question                  is , do we have

 2 to find that each such defendant               is responsible     for all

 3 objectives , controlled       subst ance s of the          conspiracy ?

 4 The answer     is no , you only need find one .

 5            THE COURT:     Right .     Only one or more of the

 6 objectives .

 7            MS. GREENBERG:      And you don't have to find they

 8 personally     deal with it .       It 's reasonable

 9 for esee ability .

10            MR. MITCHELL:      Your Honor --

11            MR. MONTEMARANO :        Your Honor --

12            MR. MITCHELL:      I don't think           that 's what it

13 says .    It 's one sentence .       That 's the problem        I think

14 we're having     here .    It 's one sentence,          and there 's no

15 period    until the very question            mark .    So it 's -- if you

16 read it all in one , what they're              asking     is , if we find

17 someone     guilty   of Count One , can we find them guilty               of

18 other drug s or must we -- yes , must we find them guilty

19 of the other drug s if they mere ly had knowledge                 but

20 didn't    deal in it .     That 's the way I read it .

21            MR. MONTEMARANO :        I think Mr. Mitch ell is

22 correct .     I would ask Your Honor to consider               this

23 question     in conjunction     with the verdict           form , which is

24 where the question        arises    from .

25            THE COURT:     It came from question s 7 and 1 2.




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 1          MR. MONTEMARANO :     I think if you look at any of

 2 those question s and if you read this not as an attorney

 3 -- because   we attorney s understand       it and we attorney s

 4 draft ed it -- and rather      as a layman , if you the find

 5 the defendant    Learley    Goodwin    guilty   of Count One , how

 6 do you find as to the type of controlled            substance

 7 involve d?   It 's not absolute ly clear .

 8          If you look at the next question s that they can

 9 find no involve ment as to particular           substance s with

10 regard   to this defendant     versus    that defendant , I think

11 it actual ly is a question      that stem s less from Question

12 7 and more from Question       8.     If you find heroin

13 involve d in the conspiracy , it does n't mean it 's

14 involve d as to all member s of the conspiracy           and

15 like wise crack and like wise cocaine .

16          THE COURT:     That 's the    way the questionnaire       is

17 structure d is to make it clear .

18          MR. MITCHELL:      Your Honor , I think they're

19 talk ing about each defendant .         If they find one of the

20 drug s and they had knowledge         of the other two , can we

21 find -- that is what -- the way I interpret            this .

22          MR. MCKNETT:      Your Honor , I think the ambiguity

23 -- and I think Mr. Montemarano          correct ly point ed out

24 that lawyer s drafted      this and didn't      read it from the

25 point of view of a lay person , and I think there is




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 1 am biguity   un fortunate ly in the two example s.

 2           Question    7:    If you find the defendant       --

 3 Question 8:     If you find the defendant        Learley     Goodwin

 4 guilty    as to Count One and if you find that heroin                 was

 5 involve d -- I think the ambiguity          is there .     It does n't

 6 say , is heroin      involve d in the conspiracy      or was heroin

 7 involve d with regard        to Mr. Good win .

 8           MR. MONTEMARANO :      If you find Mr. Good win to use

 9 an example , guilty        of the conspiracy , and you find Mr.

10 Good win was involve d with heroin , then how much ?              That

11 linkage    of those two part s is pate nt ly clear to us .

12           THE COURT:       The conspiracy   is said to have had

13 three objectives .         The jury 's been instruct ed that they

14 may find the defendant         guilty   of that conspiracy       if

15 they find one or more of those objectives             was involve d

16 in involving    this defendant .

17           MR. MONTEMARANO :      That's exactly it.        They need

18 to have it clarif ied that a defendant 's involve ment

19 must be tie d to one or two or three of the objectives

20 as they choose , if they find them guilty , and I don't

21 think that linkage         has been adequate ly demonstrate d.

22 Hence , this question .        I think it 's simply      a failure      on

23 our part to insure         that these lay people    who according

24 to the jury question naire not un educate d and understand

25 what we take for grant ed , because         we've all been do ing




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 1 this for a while .

 2            THE COURT:       Let me put it this way .       The

 3 indict ment charge s the conspiracy            of all three .

 4 They 've been instruct ed that they may find in the

 5 alternative        one , two or all three as objectives .

 6            Perhaps    it would be clarify ing to tell them

 7 where it says , if you find that heroin              was involve d, it

 8 should     really    be , if you find that Good win was involve d

 9 in the heroin        objective    of the conspiracy .

10            MR. MONTEMARANO :         Yes , that 's exact ly it .

11            MR . MITCHELL:        I think what the jury want s to

12 know is , what if -- and this is the --

13            THE COURT:       What ?    I'm sorry .   Say again .

14            MR. MITCHELL:         This is what I think the juror is

15 asking .        What if -- sorry to use Mr. Good win , but we

16 will continue        with Mr. Good win .      What if Mr. Good win ,

17 they find , was involve d in cocaine            base but knew that

18 there was heroin        also being distributed ?         The question ,

19 the last part of it , did not personally               deal with each

20 of the drug s but may have           had knowledge .     I think their

21 question        is if they -- if he knew that there was heroin

22 also being dealt , is he also guilty             of the heroin , even

23 though     --

24            THE COURT:       He can be found guilty       of an aspect

25 of the conspiracy        of which he had knowledge         even if he




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 1 didn't    personally    deal with it .

 2           MR. MITCHELL:     That 's what they're     asking , I

 3 think .

 4           MR. MONTEMARANO :     The question     is , if he had no

 5 knowledge .    That , I think , is --

 6           MS. GREENBERG:      Your Honor , what they're       missing

 7 is --

 8           MR. MONTEMARANO :     Excuse    me , Ms. Green berg .

 9           THE COURT:     I'm sorry ?

10           MS. GREENBERG:      What they 're asking       and what

11 they 're asking    the court to do is the juror is

12 assuming , for sake of this note they've           already    found

13 the conspiracy .       Now we're get ting to     the Apprendi

14 language , and I don't think       that the change s that the

15 defendant s are suggesting       are correct .

16           THE COURT:     The question     is , do we find him

17 responsible    for all objectives ?        And the answer     is no .

18           MR. MARTIN:     Exact ly .

19           MR. MONTEMARANO :     Your Honor , I'm not suggest ing

20 any change s to the language .         I'm try ing to     assist    the

21 court and other counsel       in the courtroom      in

22 understand ing the question , because         it is very clear

23 that with nine attorney s in this courtroom              -- ten if we

24 count Mr. Krinsky       -- we have at least      five different

25 opinion s to what this question          mean s, and that 's all I




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 1 was try ing to explain .      How the    court resolve s it is

 2 somewhere    we're not at yet , but I think they are asking

 3 a question     about someone 's involve ment in an objective

 4 of the conspiracy , an objective         of which they had

 5 knowledge    as oppose d to an objective       which they did not

 6 have knowledge .

 7          It says here , "E ven if that defendant         did not

 8 personally     deal with each of the drug s but may have           had

 9 knowledge ."

10          MR. MITCHELL:      The bottom    line is that they only

11 need find one of the objectives .          That 's , I think , what

12 the court instruct ed initial ly , and that may help .

13          MR. MONTEMARANO :      I think you need to refer them

14 back to the definition       of "conspiracy " and whether       mere

15 knowledge    is enough , which it is not .

16          MS. GREENBERG:      Judge , I dis agree .    The first

17 part of the     question   says , "A ssuming   we have now found

18 the defendant     guilty   of conspiracy ."     This juror is

19 look ing to what we all look ed at after Apprendi , and

20 these juror s are not lawyer s.         We found this person

21 guilty   of conspiracy .     Now tell us what to do next , and

22 what the court has already        suggest ed , I think, is

23 appropriate .

24          THE COURT:    T hey 're say ing , we found him guilty

25 of conspiracy , which mean s they've        look ed at this and




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 1 they found a combination           agreement   and they found all

 2 the thing s that are necessary          for conspiracy , but this

 3 is a tri partite       type of    conspiracy   and they have to

 4 conclude     that they were involve d in one or more of the

 5 specific     object ives of a tri partite       conspiracy .

 6             I t hink , although     this is a compound         question ,

 7 and it 's a little       bit --

 8            MR. HALL:     It 's really    two question s.

 9            THE COURT:      -- convoluted , in order       to find the

10 defendant     guilty    of conspiracy , they do not have to

11 find them involved in all of the objectives                of the

12 conspiracy, only one or more as my instructions have

13 told them.

14            Whether   the defendant      is involve d in a

15 particular     objective    of the conspiracy      is a matter       that

16 they should     determine    in accordance      with my

17 instruction s which do address          the question      of

18 knowledge , but there 's more than mere knowledge                 that 's

19 required .

20            MR. MARTIN:      Your Honor , I think --

21            THE COURT:      If you can give me the page number ,

22 I can direct     them to that .

23            MR. SUSSMAN :     I think it 's 53 they're          referring

24 to .

25            THE COURT:      I think that 's right .




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 1            MR. MARTIN:      Your Honor , since they're          talk ing

 2 about Mr. Good win , may I be heard ?

 3            THE COURT:     I'm sorry , what ?       Go ahead .

 4            MR. MARTIN:      I think if you answer       the first

 5 part "no ," you don't even have to answer              the second

 6 part .   It answer s itself .      Thank you .

 7            MS. GREENBERG:      Your Honor , I think if you're

 8 going to read part of the jury instruction s as to the

 9 second   question , what they're         talk ing about is , as I

10 said , the Apprendi -type , because         now they 've already

11 gone -- they said they found him guilty , and t he court

12 will tell them one more objective , and then the jury

13 question      reads appropriately .

14            For example , for Question       8:     If you find the

15 defendant      Learley   Reed Goodwin     guilty    as to Count One

16 and you find that heroin         was involve d, how do you find

17 the amount      of heroin ?    That 's what they're      talk ing

18 about here with that last question .               I think they're

19 talk ing about the Apprendi - type question .

20            MR. MITCHELL:      Actual ly , I think what -- I

21 dis agree .     I think what they're       asking    about is on Page

22 52 of the jury instruction s.

23            THE COURT:     It really     begin s on Page 49 .

24            MR. MITCHELL:      Yes , but I think if you look at

25 Page 52 , what they're        asking    is in the middle    of the




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 1 first paragraph .       Not the first full paragraph           but at

 2 the top of the page .         More is required       --

 3           THE COURT:       Are you reading       from the clean set

 4 or the --

 5           MR. MITCHELL:       The one that we just got .

 6           THE COURT:       Okay .

 7           THE COURT:       Where ?

 8           MR. MITCHELL:       Page 52, about the          fifth line

 9 down .    What is necessary         is that the defendant      must

10 have participate d with knowledge , with at least               some of

11 the purpose of the core           objectives     of the conspiracy

12 and with the intention           of aiding     in the accomplish ment

13 of those un lawful      ends .      I think that 's what they need

14 to be direct ed toward .          That 's , I think , direct ly

15 answering    this question .         Note the see tin instruction .

16 Then the further       paragraph      in sum reiterate s what has

17 already    been said , that they thereby become             know ing --

18           THE COURT:       I'll tell you this .       I think what I

19 ought to do is refer them back to my con spiracy

20 instruction    as a whole , rather           than to focus on one and

21 only on e part , and I will tell them that the

22 instruction s on conspiracy           --

23           MR. MITCHELL:       Start ing on Page 49 .

24           THE COURT:       They go back farther       than that .

25           MR . MITCHELL:     Page     46 ?




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 1            THE COURT:   They begin before          that .   They begin

 2 on Page 43 .

 3            MR. MITCHELL:      I'm sorry .    You're    right .

 4            MS. GREENBERG:      Your Honor , I don't think         that 's

 5 going to assist     them very much , if we all agree at

 6 least to the first question .

 7            THE COURT:   Let me get the page .

 8            MS. GREENBERG:      Page 43 .

 9            THE COURT:   It 's Page 43 through         54 , exclusive

10 of the less er included        offense    part .

11            MS. GREENBERG:      If we all agreed       that the answer

12 to the question , "D o we have to find each such

13 defendant     responsible     for all objectives       of the

14 conspiracy ?"     If we all agree that the answer            is no ,

15 why can't the court answer         that question       and then refer

16 them to the conspiracy         instruction s in total ?

17            THE COURT:   As I said , this is not the clear est

18 question     in the world .     Perhaps    my answer    may not be

19 the clear est one in the world , but I believe              it really

20 is sort of two questions , and I'll try to answer                 it

21 that way .

22            I'm going to first of all tell them that they

23 should -- for the question s that I gave them on

24 con spiracy,    they should     read again Page s 43 to 54 ,

25 because    that 's -- I don't want them to consider              one




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 1 instruction     in isolation    from the other s.       But to

 2 answer   their question      as best I can , in order      to find a

 3 defendant    guilty   of the conspiracy      charge d in Count

 4 One , which is a tripartite        conspiracy , they may do so

 5 if they find that person        was a participant       in one or

 6 more of objectives      of the conspiracy .       They are not

 7 responsible     for the other objectives , only those that

 8 they find in accordance        with these instruction s that

 9 they were participati ng in .

10          With regard    to the second      part of it -- even if

11 a particular     defendant    didn't    personally    deal with it

12 but may have     had knowledge    -- I'll refer them again to

13 the question     of knowledge .     Knowledge    alone may not be

14 enough , but there are other aspect s of the crime of

15 conspiracy     which may take a couple       -- couple d with

16 knowledge    may link them to that objective .           I will tell

17 them also to clarify      the question      that they

18 specifically     asked about number s 7 and 12 , and when

19 they are re view ing those question s they should           answer

20 -- for example     in 7, " yes " or "no " as to that

21 defendant 's participation        in that one or more

22 objectives     of the conspiracy       -- " yes " or "no " on those

23 objectives .     When they get to the follow up question ,

24 "If you find that heroin        was involve d," it should        help

25 them -- "If     you find that the defendant          participate d in




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 1 the heroin     objective     of the conspiracy , how do you

 2 find ?"    That would help them .

 3            MR . MITCHELL:      The only thing I think that 's

 4 miss ing is that they must have intentionally                  engage d,

 5 advise d or assisted        in it for the purpose        of further ing

 6 illegal    under taking , which isn't in your short answer .

 7 I think I agree with my fellow             defense    counsel    that

 8 answering     the question     -- and I think you even alluded

 9 to them -- is going to potential ly create               problem s,

10 because    it 's not going to be a full and complete               --

11            THE COURT:       I'm intend ing to re mind them they

12 should    consider    my instructions       as whole .    And in so far

13 as their question       about conspiracy       is concerned , they

14 should    direct    their attention     specifically      to Page s 43

15 through    54 of the instructions          and consider    them as a

16 whole .

17            MR. MITCHELL:       If you're    going to say anything ,

18 I think what they 're asking         about is the knowledge

19 issue and that 's on Page 52 which require s that they

20 have an understand ing of the         un lawful      contact    or of the

21 conspiracy     and intentionally      engaged     or advise d or

22 assisted     in .

23            MS. GREENBERG:       Your Honor , that 's in the

24 summary    that the court 's giving         them to look back on .

25 I don't think       we need to just read that .




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 1          MR. MITCHELL:      If you're     going to give a short

 2 answer   --

 3          THE COURT:      Where is that Mr. Mitchell ?

 4          MR. MITCHELL:      Page 52 .

 5          THE COURT:      Tell me where it is .

 6          MR. MITCHELL:      First full paragraph .

 7          THE COURT:      Where it   says , "W hat is necessary ?"

 8          MR. MITCHELL:      "In sum , you must find " -- yeah .

 9 First full paragraph .       Toward   the bottom    of the   page .

10          THE COURT:      I can re mind them of that .        That 's

11 fine .

12          Anything   else , counsel ?

13          Mr. Sussman , any word on where your client            is ?

14 You end indicate d you spoke to her and she elected to

15 waive her presence    , but I just want to know if I should

16 wait a few minutes in case she's about to enter the

17 courtroom.

18          MR. SUSSMAN :     I ca n try again .

19          THE COURT:      Why don't you try again ?       I would

20 prefer   she be here .

21          MR. SUSSMAN :     Certain ly .

22          Just in term s of the court 's communication .            The

23 court can say to the jury , if that does n't clear it up

24 please   come back to me .

25          I don't know     how that cut s.




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 1            THE COURT:      I will tell you now , in case I

 2 forget    it , I don't want counsel       and the parti es leaving

 3 the courthouse        for the rest of the afternoon , because           I

 4 think that it would be a disaster           if they came back in

 5 20 minute s with       a question   and you guy s were all an

 6 hour away again .        I think you ought to stay , because

 7 it 's possible    they may return       a verdict   or some

 8 verdicts    today .

 9            MR. MCKNETT:      Your Honor , while Mr. Sus sman is

10 maki ng that call , I'd like to go on record , and I think

11 I speak on behalf        of everybody    involve d in this trial

12 to recognize     Mr. Krinsky 's effort s in facilitati ng the

13 process    of this trial .      I don't think    -- I think we 'd

14 still be present ing witness es --

15            THE COURT:      Well , you know that the people

16 really    in charge     of this courtroom    and who   really    make

17 it run right are Bea Merez and David Krinsky .

18            MR. MCKNETT :     I didn't   want to leave Ms. Merez

19 out , but I know it is Mr. Krinsky 's last day , and it

20 would be our last day to thank him .

21            THE COURT:      We just interrupt ed a nice "Fair well

22 Lunch " for him to come up here and do this .

23            Mr. Suss man 's client    is here .

24            Ms. Hard en , we began before     you got here because

25 counsel    advise d us that you had authorize d him to waive




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 1 your presence ; is that correct ?

 2           DEFENDANT HAR DEN:         Right .    That is right .    I'm

 3 sorry .      Traffic    --

 4           THE COURT:         I a lso said I didn't    want to have

 5 the jury come in until you were here so that we could

 6 have the benefit         of them see ing you here , rather        than

 7 miss ing .

 8           DEFENDANT HARDEN:          Thank you so much .

 9           THE COURT:          Now that you are here , we will call

10 for the jury .

11           MS. GREENBERG:          Judge , could you add to their

12 reference      -- I was thinking       about this also in Mr.

13 Mitchell 's comment .          Knowledge about their -- on Page

14 52 -- client's         willful    blindness .   Will the court add

15 that page?

16           MR. MITCHELL:          Your Honor , they're   not asking

17 about willful      blindness.

18           MS. GREENBERG:          They asked about knowledge .

19           MR. MITCHELL:          They haven't    asked about willful

20 blindness.       They have the instruction          in front of them ,

21 Your Honor .

22           MR. MCKNETT :         That would simply    highlight    --

23           THE COURT:          I'm not going to go back to that .

24                              (Jury return   at 2:42 p.m. )

25           THE COURT:          Good afternoon , ladies and




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 1 gentlemen .     I have received    from you two note s.       Since

 2 you may not all have look ed at the note s, I want to

 3 read them to you and then give you the best that I can

 4 with answer s.

 5            One question   said , "I f as a jury we find a

 6 unanimous     verdict   complete ly for some of the defendant s

 7 but not all , do all the defendant s get a new trial or

 8 just the defendant s we don't reach a unanimous            verdict

 9 on ?"

10            First , I want you to know that I would en courage

11 you to make every effort       that you can to reach a

12 unanimous     verdict   on all count s as to all defendant s.

13 The parti es have taken ten week s to put this case in

14 front of you , and it would be preferable           if you would

15 do that .     I would en courage   you do to do so .      Second ly ,

16 I want to re mind you , as I did before , that you should

17 consider    each defendant    and each count separate ly and

18 individual ly .

19            The answer   to your question    is answered     by our

20 rule s which provide      that if there are multiple

21 defendant s, the jury may return        a verdict    at any time

22 during   its deliberation     as to any defendant s about whom

23 it has agreed , and in case s with multiple          count s --

24 this is a case that does have multiple           count s -- if    the

25 jury cannot     agree on all count s as to any defendant ,




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 1 the jury may return        a verdict   on those count s as to

 2 which it has agreed .

 3            If you're    un able to reach agreement      on one or

 4 more defendant s or one or more count s after maki ng

 5 every good effort        that you can to do so , the case could

 6 be concluded     as to the defendant s and count s upon which

 7 you agreed .     As to the remainder , that would be

 8 possible    for a new trial on those count s or defendant s

 9 on which you could not agree , but there is not a new

10 trial for everybody        on every count if you could n't

11 reach agreement        on all defendant s on all count s.

12            So it would only    be on those defendant s or

13 count s as to which you could not agree .           We could

14 receive    verdict s on all defendant s and count s which you

15 could agree , and the rest of it is up to further

16 proceed ings .    That 's your first question .

17            The second    question   you asked was a little      more

18 difficult    to understand , but I'll do the best I can to

19 understand     this question .      It says , "W ith regard    to

20 determini ng the type of controlled         substance    involve d

21 (for example , one of the three drug s/objectives             of the

22 conspiracy     end ) for a given defendant      that we find

23 guilty    of the conspiracy, do we have to find each such

24 defendant    responsible for al      l objectives   ( controlled

25 substance s) of the conspiracy         even if that particular




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 1 defendant    did not personally       deal with each of the

 2 drug s but may have      had knowledge ?        For example , verdict

 3 form Q uestion   7 and Question       12 ."

 4           It 's sort of a compound      question , so I'm going

 5 to do the best I can to answer          it .     I have previous ly

 6 given you fair ly de tail ed instruction s on the crime of

 7 conspiracy , and most of those instruction s are between

 8 Page s 43 and 54 of the instruction s.             There are other

 9 portions of    the instruction s which may also be of

10 assistance    on that , but the bulk of the instructions on

11 conspiracy are in those pages.           I want to re mind you

12 that my instruction s should       be considered       as whole , and

13 I don't   want you to focus on one as to the exclusion                 of

14 any other instruction.        They are one entire        document      to

15 be considered    as a whole .

16           As I have advise d you , it is not necessary            that

17 a defendant    be found to have been a par ticipant           in all

18 three objectives       of the conspiracy .        It is sufficient

19 if the defendant       has participated        in one or more of the

20 objectives    of the conspiracy , and it is for that

21 reason , for example , that the verdict            form asks , and

22 you specifically       direct ed my attention       to Question   7.

23 It asks in this case :       For example , if you find the

24 defendant    Learley   Reed Goodwin     guilty     as to Count One ,

25 how do you find as to the type of controlled              substance




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 1 involve d?     Then it give s the three choice s.           If it

 2 would help you in clarify ing what that mean s and what

 3 the followup     question s mean , it would be how do you

 4 find him as to his participation             in that objective        of

 5 the conspiracy .

 6            As you can see from the way the questionnaire                   is

 7 word ed , if you answer      "heroin " but not "cocaine         and

 8 cocaine     base ," you don't answer       the question s about

 9 cocaine     and cocaine    base .     You only answer     the

10 question s pertain ing to      the drug as to which you found

11 he was a participant        in that object ive of the

12 conspiracy .

13            You also then said , even if that particular

14 defendant     did not personally        deal with each of the

15 drug s but may have       had knowledge .      Well , as you know

16 from the instruction s that I've direct ed you to take a

17 look at again , 43 through           54 , knowledge    alone may not

18 be enough , but knowledge           with some other factor s that

19 I've identifi ed in those page s of the instruct ions is

20 enough .     So , it 's not necessarily       required    that the

21 person     personally    deal with the drug to be found guilty

22 of participation        in that objective      of the conspiracy .

23            I hope I have clarifi ed the question s for you .

24 I'm here to assist        you the rest of the         day any way I

25 can .    If you have further         question s, just get the pen




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 1 and paper out and send it back in here .

 2           I'm going to keep the parti es here , so if my

 3 answer    that I just gave you did not sufficient ly answer

 4 the question , you can send me another             note and I'll

 5 have the parti es all here to do so .            As I advise d you

 6 before , by the way , I will be here all day today.                If

 7 you reach a verdict        today , I will     be here to receive

 8 it .

 9           I would ask Judge Chasanow           to please    stand up .

10 This wonderful       woman here is my colleague , Judge

11 Deborah    Chasanow .     If you don't reach a verdict          today

12 and you're    here Wednesday , Thursday         and Friday     of next

13 week , she would be here to assist you with any

14 questions or to receive verdic          ts.

15           The following     week you're       off because    you have

16 all kinds of vacation        plan s, and we're not going to

17 clutter    that up .     If you can't get it done in those

18 three days and you come back the following Monday, you

19 will have me.

20           With that I would ask you to           return    to continue

21 your deliberation s.        Before   you do so , let me ask

22 counsel    to come     to the bench .

23                      (At the bar of the Court.)

24           THE COURT:      Counsel , any concerns      about the

25 supplement al instruction ?




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 1                  (No responses.)

 2                  (Back in open court .)

 3            THE COURT:   You may return           to deliberate .

 4                    (At the bar of the Court.)

 5            THE COURT:   They said they were going to stay

 6 until 4:00 .     If they say they're        leavi ng at 7:00, I'll

 7 stay .

 8            MR. MONTEMARANO :     If they leave at 4:00 --

 9            THE COURT:   What they don't understand           is when

10 we read that verdict        form in open court , it will           take

11 forever .

12            MR. MONTEMARANO :     Just so it 's clear .       We have

13 no objection     to the supplemental        instruction , subject

14 to all the instruction s given .

15            MS. GREENBERG:      While we're up here .        Judge ,

16 somebody     did mention    to me there is a some Fourth

17 Circuit     case law that the judge that is taking            over

18 from the judge that leave s, they have to --

19            THE COURT:   Not to take a verdict .

20            MS. GREENBERG:      Okay .    I didn't have     a chance       to

21 do the re search    yet because     I had a Fourth Circuit

22 brief due , but I was going to do the re search .

23            THE COURT:   I have it       here .

24            MS. GREENBERG:      I just want ed to make sure the

25 court --




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 1         THE COURT:      I read it before     I came up here .

 2         MS. GREENBERG:       Thank you , sir .

 3                       (Back in open court .)

 4         THE COURT:      Don't go far .

 5                       (Off the record      at 2:50 p.m. )

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 1                            CERTIFICATE

 2

 3      I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al,    Criminal Action Number        RWT -04-0235 on

10 August 11 , 2006.

11

12      I further certify that the foregoing            31 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17      In witness whereof, I have hereto subscribed my

18 name, this 18th day of      March 2008 .

19

20

21                                   __________________________

22                                   TRACY RAE DUNLAP, RPR , CRR
                                     OFFICIAL COURT REPORTER
23

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